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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DISTRICT

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                Case No. 4:16-cr-00003-02 KGB

CURTIS KYLE HACKER                                                                  DEFENDANT

                                               ORDER

       Before the Court is the United States of America’s motion to dismiss forfeiture allegations as

to certain property and preliminary order (Dkt. No. 258). During the course of the investigation of

the above-referenced matter, the Drug Enforcement Administration (“DEA”) seized from defendant

Curtis Kyle Hacker one Winchester model 12, 20 gauge shotgun, serial number 1432972; one Smith

and Wesson model SW40VE, .40 caliber pistol, serial number RBM5163; one Glock 22, .40 caliber

pistol, serial number ERX734US; one Colt Sporter, .223 caliber rifle, serial number 014002 with scope;

one Sun City Machinery Company, LTD Savage 320, 12 gauge shotgun, serial number 131892E; and

all ammunition seized on December 16, 2015 (“the seized property”). The superseding indictment

filed in this case gave notice of the United States’ intent to seek at sentencing the forfeiture of the

seized property. In addition to the criminal forfeiture proceeding, the DEA also started administrative

forfeiture proceedings against the seized property.      On June 7, 2016, the DEA completed its

administrative forfeiture proceedings. A declaration of forfeiture has the same force and effect as a

judicial decree of forfeiture; therefore, the seized property now belongs to the United States, and a

criminal forfeiture action is unnecessary. Accordingly, the motion is granted, and the seized property

is dismissed from the forfeiture allegations (Dkt. No. 258).

       It is so ordered this 22nd day of August 2017.



                                               Kristine G. Baker
                                               United States District Judge
